                                    UNITED STATES DISTRICT COURT
                                                for the
                                 EASTERN DISTRICT OF NORTH CAROLINA

    U.S.A. vs. Linh Van Nguyen                                                    :nocket No. 5:17-CR-184-lD

\                                   Petition for Action on Supervised Release

    COMES NOW Haley Huntley, U.S. Probation Officer of the court, presenting a petition for modification
    of the Judgment and Commitment Order of Linh Van Nguyen, who, upon an earlier plea of guilty to Bank
    Fraud, in violation of 18 U.S.C. § 1344, was sentenced by the Honorable W. Earl Britt, Senior U.S. District
    Judge, on January 30, 2018, to the custody of the Bureau of Prisons for a term of 366 days. It was further
    ordered that upon release from imprisonment the defendant be placed on supervised release for a period of
    60 months. Linh Van Nguyen was released from custody on January 31, 2019, at which time the term of
    supervised release commenced. On July 31, 2019, a Violation Report was submitted to the Court reporting
    that the defendant was $320.00 in arrears on his financial obligation. No action was taken, and the defendant
    was continued under supervision. On March 16, 2021, a Violation Report was submitted to the Court
    reporting that the defendant was in arrears on his financial obligation. The defendant was issued a letter of
    reprimand and was continued on supervision.

    RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
    FOLLOWS: On July 7, 2022, a Violation Notice was received from U.S. Probation Officer Chantal
    Williams in the Middle District of North Carolina reporting that the defendant traveled numerous times
    without permission, to include an international cruise. As a result, a new Monthly Cash Flow Statement
    was completed, and it was determined that the defendant is able to make payments in the amount of$150.00
    monthly. Additionally, the probation office in the Middle District of North Carolina has requested that the      \_
    defendant be placed on Home Detention with Radio Frequency (RF) technology for a period of 180 days
    to address the unapproved travel. It is further recommended that the defendant be responsible for payment
    of the program. The defendant signed a Waiver of Hearing agreeing to the proposed modifications of
    superv1s10n.

    ·PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

        1. The defendant shall abide by all conditions and terms of the home detention program for a period
           not to exceed 180 consecutive days. The defendant shall be restricted to his residence at all times
           except for pre-approved and scheduled absences for employment, education, religious activities,
                                                                                                   1
           treatment, attorney visits, court appearances, court obligations or other activities as approved by the
           probation officer. The defendant shall submit to the following Location Monitoring: Radio
           Frequency monitoring and abide by all program requirements, instructions and procedures provided
           by the supervising officer. The defendant must pay all of the cost of the program.

       2. Restitution in the amount of $128,686.18 is due immediately and shall be paid in installments at the
          rate of $150.00 per month until paid in full, with the first payment due on September 1, 2022. It is
          recommended that the interest be waived pursuant to 18 U.S. C. § 3 612(f)(3).

    Except as herein modified, the judgment shall remain in full force and effect.




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Reviewed and approved,                          I declare under penalty of perjury that the foregoing
                                                is true and correct.


/s/ Keith W. Lawrence                           /s/ Haley Huntley
Keith W. Lawrenc'e                              Haley Huntley
Supervising U.S. Probation Officer              U.S. Probation Officer
                                                150 Rowan Street Suite 110
                                                Fayetteville, NC 28301
                                                Phone: 910-354-2533
                                                Executed On: July 7, 2022

                                     ORDER OF THE COURT

Considered and ordered this      8       day of_~J_u~w=--+------' 2022, and ordered filed and
made a part of the records in the above case.       1

Jame~ C. Dever III
U.S. District Judge




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